Case 1:20-cv-07311-LAK Document 183 Filed 07/27/23 Page 1 of 12
DISTRICT ATTORNEY
COUNTY OF NEW YORK
ONE HOGAN PLACE
New York, N. ¥. 10043
(212} 336-9000

See RONCALLY FILED |
ALVIN L. BRAGG, JR. DOC #:
DISTRICT ATTORNEY DATE FILED: 4 o 27 = 20 2%

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July 26, 2023

BY HAND

ECEI 215
The Honorable Lewis A. Kaplan Oo | li
United States District Court, Southern District of New York JUL ? 7 2023 i ui
Room 21B A
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street JUDGE KAPLAN’S CHAMBERS

New York, NY 10007

Re: The People of the State of New York v. Donald J. Trump, Ind. No. 71343-23
Carroll y, Trump, 22 Civ. 10016 (LAK)
Carroll v. Trump, 20 Civ. 07311 (LAK)

Dear Judge Kaplan,

On May 15, 2023, our Office served a trial subpoena on the law firm of Kaplan
Hecker & Fink, LLP, attorneys for E. Jean Carroll, for “[t]he full transcript, full video
recording, and all exhibits related to the videotaped deposition of Donald J. Trump taken on
or about October 19, 2022 in the case titled E. Jean Carroll vs. Donald J. Trump, 1:20-cv-
07311-LAK” (the “Kaplan Hecker Subpoena,” attached hereto as Exhibit 1). As
demonstrated by the publicly released excerpts of the deposition shown at trial in Carroll v.
Trump, 22 Civ. 10016 (LAK), we believe the full transcript and video recording of the
deposition are relevant and material to our proceedings, The People of the State of New York
v. Donald J, Trump.

On May 31, 2023, defendant moved before New York Supreme Court Justice Juan
M. Merchan to quash the Kaplan Hecker Subpoena, arguing that it was overbroad and an
attempt to fish for impeachment material, and that the materials sought were subject to a
Protective and Confidentiality Order in Carroll v. Trump.

On July 7, 2023, Justice Merchan issued a Decision and Order on Defendant’s Motion
to Quash (attached hereto as Exhibit 2), finding:

[T]his subpoena is not overbroad or otherwise inappropriate. The People have
demonstrated that the request seeks items that are relevant and material to these
proceedings. However, this Court is unable to determine from the moving papers
whether the Protective and Confidentiality Order is still in effect as to those materials
which were ot introduced into evidence at trial or otherwise publicly filed.

Ex, 2 at p. 6.

Case 1:20-cv-07311-LAK Document 183 Filed 07/27/23 Page 2 of 12

Justice Merchan’s Order directed us to seek clarification from Your Honor as to whether
compliance with the subpoena would in any way violate this Court’s Protective and
Confidentiality Order in Carroll v. Trump:

This Court does not wish to create any issue or conflict with Judge Kapian’s Order.
Therefore, the appropriate course of action is for either, or both parties, to seek
clarification from Judge Kaplan as to whether compliance with the subpoena would in
any way violate his Order. If the Order is still in effect, then Kaplan Hecker & Fink
LLP must not comply. On the other hand, if the requested materials, in their entirety,
are no longer protected by the Order, then Kaplan Hecker & Fink LLP is directed to
comply with the subpoena within 16 days from the date the parties receive confirmation
from the Southern District,

Ex, 2 at p. 6.

Therefore, the People respectfully request that Your Honor apprise us as to whether
Kaplan Hecker & Fink, LLP may comply with the People’s trial subpoena or if the Protective
and Confidentiality Order in Carrofl v. Trump precludes such compliance.

The People have conferred with defense counsel in The People of the State of New
York v. Donald J. Trump, who advise that they take no position with respect to this request.

Respectfully Submitted,

‘Susan Hoffinger
Executive Assistant District Attorney

New York County District Attorney’s Office
1 Hogan Place

New York, NY 10013

212-335-9790

hoffingers@dany.nyc.gov

gh Bar

cc: Todd Blanche, Susan Necheles, Joseph Tacopina, counsel for Defendant Donaid J.
Trump, and Roberta Kaplan, counsel for E Jean Carroll (by email with consent)
Case 1:20-cv-07311-LAK Document 183 Filed 07/27/23 Page 3 of 12

Exhibit 1
Case 1:20-cv-07311-LAK Document 183 Filed 07/27/23 Page 4 of 12

DISTRICT ATTORNEY
COUNTY OF NEW YORK
ONE HOGAN PLACE
New York, N. ¥, 10043
(212) 335-9000

ALVIN L,. BRAGG, JR.
DISTRICT ATTORNEY

May 15, 2023
VIA EMAIL
Kaplan Hecker & Fink LLP
Attn: Custodian of Records
350 Fifth Avenue 63 Floor
New York, NY 10118

Re: People v. Donald Trump
Indictment Number: 71543-23

To Whom H May Concern,

Enclosed please find a subpoena seeking records. These records are needed on or before
May 31, 2023. In lieu of appearing personally with the requested documents, you may mail or
deliver them to the New York County Supreme Court, Part 59. 100 Centre Street, New York, NY
10013.

Please mark the envelope containing the records as “Case #71543-23, Assistant District
Attomey Susan Hoffinger, extension 9790,”

[Ifyou have any questions concerning the subpoena, please call me at (212) 335-9790,
Your attention to this matter is greatly appreciated,

Ky

Susan Hoffinger
Assistant District Attorney
212-335-9790

Enclosure
Case 1:20-cv-07311-LAK Document 183 Filed 07/27/23 Page 5 of 12

SUBPOERNA
(Auces Tectuny}
FOR A WITNESS TO ATTEND THE
SUPREME COURT OF THE STATE OF NEW YORK

In the Name of the People of the State of New York

To: Kaplan Hecker & Fink LLP
Atin: Custodian of Records

YOU ARE COMMANDED to appear before the SUPREME COURT of the County of New York, Part 59,
at the Criminal Court Building, 100 Centre Street, in the Borough of Manhattan, of the City of New York, on
May 31, 2023 at 10:00 AM, as a witness ina criminal action prosecuted by the People of the State of New
York against:

Donald J. Trump

and to bring with you and produce to the Court the following records in the actual and constructive
possession of Kaplan Hecker & Fink LLP:

|. The full transcript, full video recording, and all exhibits related to the videotaped deposition of
Donald J. Trump taken on or about October 19, 2022 in the case titled E. Jean Carroll vs. Donald
4. Trump, 1:20-cv-073 11-LAK,

IF YOU FAIL TO ATTEND AND PRODUCE SAID ITEMS, you may he adjudged guilty of a Criminal
Contempt of Court, and liable to a fine of one thousand dollars and imprisonment for one year.

Dated in the County of New York,
May 15, 2023

ALVIN L. BRAGG, JR.
Distri€t Attorney, New York County
By:

A Mb
Siisan Hoffinger

Assistant District Attorney
(212) 335-9790

Indictment Nunber: 71543-23

Case 1:20-cv-07311-LAK Document 183 Filed 07/27/23 Page 6 of 12

Exhibit 2
Case 1:20-cv-07311-LAK Document 183 Filed 07/27/23 Page 7 of 12

SUPREME COURT OF THE STATE OF NEW YORIS
“COUNTY OF NEW YORE: PART 59

THE PEOPLE OF THE STATE OF NEW YORK. DECISION AND ORDER ON
DEFENDANT’S MOTION TO
against — - QUASH TWO SUBPOENAS
DONALD }. FRUMP, Ind. No. 71543/2023
Defendant.

“HON. JUAN M. MERCHAN J.5.C.;

On April 4, 2023, Donald J. Trump, the Defendant, was arcaigned before this Court on an
_ indictment charging him with 34 counts of Falsifying Business Records in the First Degree, in violation
of Penal Law § 175.10.

On May 11, 2023, the New York County District Atrorney’s Office “DANY” or the People”)

| served the Trump Organization with a subpoena dives feowa secking production of various records.
: Over the next few days, Steven Yurowitz, Counsel for the Trump Organization, and representatives:
: from DANY, engaged mm several conversations in an attempt to resolve objections the Trump
Organization had raised to the subpoena. Unable to reach a resolution, DANY withdrew the subpoena.
Subsequently, on May 15, 2023, the People issued a new subpoena dices fecam which narrowed the
:- requests and extended the return date. On that same day, the People issued a separate subpoena duces
tecwm to Kaplan, Hecker & Pink LEP.

On May 31, 2023, Defendant moved to quash both subpoenas.’ The People opposed the

motion on June 14, 2023. ‘The following constitutes this Court's Decision and Order.

CONTENTIONS OF THE PARTIES

The Subpoena to the Vramp Orranization .
Defendant relies on County of Nassan Police Dept.» fudge, 237 A.D.2d 354 (1997), in support of:
: his contention that this subpoena should be quashed because the People have not “establishjed| the

existence of a factual predicate which would make it reasonably likely that the documentary information.

will bear relevant and material evidence.” Judge af 378. In response, the People submit that they have

: | The subpoenas are contained in Exhibits A and B of Defendant’s Motion to Quaish,

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Case 1:20-cv-07311-LAK Document 183 Filed 07/27/23 Page 8 of 12

: provided a sufficient factual predicate demonstrating that each request seeks evidence which is
reasonably likely to be relevant and material to the facts at issue and that the requests ate not overbroad.”
The People argue that a party may properly seck documents if it is able to articulate “any theory of
4 relevancy and materiality.” People ». Gussendanner, 48 N.Y 2d 543, 549 (1979),

Specifically, defendant argues that the first of the three requests contained in the subpoena Is.
“ overbroad because it seeks “all [email] communications between approximately 70 people for nearly a
_ yeat”* Iris the People’s position that the subpoena merely requests email “for a critical time period’
| when the defendant and others signed the checks at issuc in this case,” and that the requested materials.
| “are reasonably likely to be relevant and material to the process by which the defendant conducted his
- personal affairs,” as well as “the circumstances by which those checks were processed." Further, the
People assert that the contents of the emails and the number of communications will demonstrate how
the defendant was kepe “informed of and involved with the operation of his personal business in New
York” while he served as President of the United States.”

Regarding the second of the three requests, Defendant argues that the subpoena is overbroad
because it secks any severance agreement, confidentiality agreement, or non-disclosure agreement m
_ effect between the Tramp Organization and 17 current of former Promp Organization employces over

a six-year period. Defendant notes that only 7 of the 17 individuals named in the request have been
identified as potential trial witnesses. Defendant celics on Causfantine ». Leto, 137 AJD).2d 376, 378 (1990)
for the proposition that the subpoena impermissibly seeks: (1) documents that are not directly relevant
and material to the facts at issue; (2) to ascertain the existence of evidence; and G) impeachment
: material.© The People claim that the request seeks information which “will confirm the nature and
2 importance of the relationship of each of the key executives or employees,” which “will likely reveal
some material differences in those relationships,” as they were ernployed by the Trump Organization
when the business records were falsified.’
Regarding the third and final request, Defendant argues that this request is also overbroad
because it seeks () all emails beeween Rhona Graff and Melania ‘Trump; (ti) all emails between Rhona
| Graff and Keith Schiller; and (iii) all teavel itineraties prepared for Donald J, Trump from January f,

2015, through January 20, 2017, Defendant cites People » Charters, 134 Misc, 2d G88, 690 (Sup. Cr

: 2 People’s Memorandum of Law at page 1.

3 Defendant's Motion at page 4.

: 4 People’s Memorandum of Line at page 10,

', 5 People’s Memorandum af Law ai page 10.

- 6See Defendani’s Motion at page 3.

© 7 See People's Memozandum of Law at page 1.
Case 1:20-cv-07311-LAK Document 183 Filed 07/27/23 Page 9 of 12

N-Y. Co, 1987) in support of his argument that the request improperly attempts to use a subpoena to
“investigate possible leads to material which may be irrelewant.”* The People argue that based on thew:
L investigation, the Defendants writtcn and electronic calendars do not “capture all of the defendant's.
: meetings and travel during the relevant period” and that the request is likely to yield the Defendane’s
itineraries, which will confirm “whom the defendant met and where those meetings took place” when:

the criminal conduct allegedly occurred.’

The wrbpoena to Kapian, | leeker ¢= Vink LIP

‘The subpoena served on Kaplan, Hecker & Fink LLP secks “[t]he full transcript, full video

| recording, and all exhibits related to the videotaped deposition of Donald J. Trump taken on of about
October 19, 2022, in the case captioned £5, Jean Carrell», Danakd f, Tromp, 1:20-ev-0733-LAK. Defendant
moves to quash this subpoena because “te is overbroad, it is an attempt to fish for impeachment
| maternal, and because the materials are subject to a protective order in the Southern Distuct of New
/ York.”"” Further, Defendant claims that the request fails to seck a specific portion of the deposition,
: and, instead, requests the full video and transcript and all exhibits. Relying again on Constantine v. Leta,

| 157 A.D.2d at 378, Defendant argues that the subject matter of the deposition is unrelated to the facts

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"in this case and that the request inappropriately seeks “to fish for impeaching material

The People contend there is 1o basis to quash this subpoena as either overboard or improper,

: because the documents it requests are relevant and matertal to these proceedings. The People further

: atyue that certain publicly released excerpts of the deposition demonstrates that Defendant’s testimony
included reference to a relevant Access Tollywood tape and address “[t]he way in which defendant dealt,
with allegations of a sexual nature by women in the months leading up to the 2016 presidential election,
which feature prominently in their case.'' Lastly, the People assert that Judge Kaplan’s Protective Order

in, EL Jean Carraél », Donald J. Tramp, 1:20-cv-0733-LAK docs not prechide Kaplan, Hecker & Fink LLP

! from providing the requested materials.”

CONCLUSION

Criminal Peocedure Law ( 610.20 provides that any party to a criminal proceeding may issue a

subpoena. CPL § 610.20(2) specifically confers upon the People the authority to subpoena testimony

§ See Defendant's Motion at page 5 — 6.
2 See People’s Memorandum of Law at page 11 — 12.
2. See Defendani’s Motion ar page 6.
| 1 See People’s Memorandum of Law at page 3.
12 See People’s Memorandum of Law at page 8 — 9.
Case 1:20-cv-07311-LAK Document 183 Filed 07/27/23 Page 10 of 12

or evidence. ‘J'o sustain a subpoena, the issuing party must demonstrate “that the testimony or evidence
sought is reasonably likely to be celevant and material to the procecdings and thar the subpocna is nor
overboard or unteasonably burdensome.” See, CPL § 610.20(4); see afw, People u. Kazlowsks, 11 NY.3d
223, 242 (2008) (the proper purpose of a subpoena duces fect is to compel the production of specific
documents that are relevant and material to facts at issue ma judicial proceeding), When disputes arise
concerning the ‘“‘walidity or propriety” of a subpoena, the court must resolve whether the subpoena is
enforceable. Sve, Application of Davis, (Crim. Ct. N.Y. Co. 1976); see afso, People ». Natal, 75 N.Y.2d 379,
© 385 (1990). Because the subpoenacd materials are returnable to the court, it follows that the court.
, retains the ultimate authority on the outer parameters of the People’s subpoena powers. See, People »,
! DN, 62 Mise.3d 544 (Crim. Ct. N.Y. Co. 2018), iuérnally citing Matter of Terzy 1., 81 N.Y.2d 1042 (1993).
The Court of Appeals has held that @ subpoena is properly quashed when the party issuing it
“fails “to demonstrate any theory of relevancy and materiality, but instead, merely desire|s} the

opportunity for an unrestrained foray into confidential records in the hope that the unearthing of some

unspecified information fwill} enable [them] to impeach witness{es].” Peaple v. Géssendanner, 48 N.Y.2d

! 543, 549 (1979), The Génendanner Court noted that a subpoena dices fecam may not generally be “used
for the purpose of discovery or to ascertain the existence of evidence.” fd. at 551,

Conversely, courts have denied a motion to quash where the subpoena demands production of

_ specific documents which are relevant and material to the proceedings. See, People x. Duran, 32 Misc.3d

225, 229 (Crim. Ct. Kings Co, 2011) (Laporte, J) (the defendant established that the solicited data is

relevant and material to the determination of guilt or innocence, and not sought solely in the speculative

| hope of finding possible impeachment of witness’ general credibility”); People x Campanella, 27 Mise.3d

: 737 (Dist. Ct. Suffolk Co. 2009) (Horowitz, J) (in the present case, the defense has fashioned a vety:

specific request and the court does not believe that this is a fishing expedition but rather a narrowly

sculpted pursuit of relevant information)."

+ The Subpoena to the Trumh Oreanization

‘Lhe first request, which calls for “a emails between anyoue who works or worked out of ...
: Trump Tower ... with a ‘Trump Organization email address (ending@trump.org.com) and ayyone with
: an email address ending in @who.eop.gov, for the period from January 20, 2017 to December 31, 2017"

is overbroad (emphasis added,) because it is not aarrowly tailored, Jacks specificity and fails to desctibe

i. See Peaple’s Memorandum of Law at page 7,
Case 1:20-cv-07311-LAK Document 183 Filed 07/27/23 Page 11 of 12

the subject matter the People contend is relevant and material to these proceedings. ‘The motion to:

quash this request as cutrenily drafted is pranted,

The second request seeks “from the period from January 1, 2017, to the present, any: ())
"severance agreement; (1) confidentiality agreement; (11) of non-disclosure agreements in effect between
| the Trump Organization” and 1? individuals employed or formerly employed by the Trump.
Organization. Defendant stresses that the People’s Automatic Disclosure Form only identifies seven.
+ of these individuals as potential witnesses. In fact, the People concede that only “a number of the:
individuals identified in the request ate likely to be witnesses for the People at trial.” The People have:

sufficiently explained the relevance and materiality of this request as it pertains to the seven individuals

the People intend to call as witnesses. “fherefore, the Trump Organization is directed to comply with
this request within 45 days of this Decision and Order. {towever, the People have thus far failed to
adequately explain how the materials related to the 10 other individuals is relevant. As a result,
Defendant's motion to quash is granted with respect to those 10 individuals.
The third and final request secks “() a// emails between Rhona Graff and Melania “Trump; (ii)
: all emails between Rhona Graff and Keith Schiller; and (iii) a// travel itineraries prepared for Donald J.
Trump” for a period covering 25 months. Emphasis added. The People contend that this request 48
“specifically tailored to capture communications concerning defendant’s mectings and travel” ‘This
Court finds that the thitd request as currently drafted ts not narrowly tailored and does not adequately
achieve its stated objective of capturing certain communications regarding travel and meetings in order

aa

-; to identify “whom the defendant met and where those meetings took place.’ As framed, this request
~ would yield significantly more responsive records than necessary to achieve the stated goal. Therefore,

_ the motion to quash the third request as currently drafted is granted.

‘Lhe subpoena to Kaplan, Uevker & Fink LLP

This subpoena secks “[ghe full transcript, tall video recording, and all exhibits related to the
| videotaped deposition of Donald |. Tramp taken on or about October 19, 2022, in the case captioned.

is, fean Carrall », Danaid J. Trap, 1:20-cv-0733-LAK.” Defendant argues, among other things, that the

| tequested materials cannot be turned over because they are the subject of an existing Protective and

| Confidentialiey Order.'* The People argue that the Protective and Confidentialicy Order does not,

» | See People’s Memorandum of Law at page 11,
: 1 See People’s Memorandum of Law at page 11.
: 4‘The Protective and Confidentiality Order is contained in Hshibit C ef Defendants Motion to Quash.

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Case 1:20-cv-07311-LAK Document 183 Filed 07/27/23 Page 12 of 12

. preclude production becausé certain excerpts of the deposition have already been publicly filed by
| defense counsel and other portions were introduced into evidence at trial despite Judge Kaplan’s prior

instruction that the Court would noe likely “seal or otherwise afford confidential treatment ta anny

{7t?

| Discovery Material introduced ar trial.
‘The Court finds that this subpoena is not overbroad or otherwise inappropriate. “The People
have demonstrated that the request secks items that are relevant and material to these proceedings.
A However, this Court is unable to determine from the moving papets whether the Protective and.

Confidentiality Order is stili tn effect as to those materials which were #o/ introduced into evidence at

trial or otherwise publicly filed.

‘This Court does not wish to create any issue or conflict with fudge Kaplan’s Order. ‘Therefore,

= the appropriate course af action is for either, or both parties, to seck clarification from Judge Kaplan.

as to whether complhance with the subpoena would in any way violate his Order. [f the Order is still in:

_effect, then Naplan Hecker & Mink LLP must not comply. On the other hand, if the requested materials,
= in their entirety, are no longer protected by the Order, then Kaplan Hecker & Pink LLP is directed to
= comply with the subpoena within 16 days from the date the parties receive confirmation from the

= Southern District.

Che faregoing constitutes the Decision and Order of this Court.

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July 72023 Chal Lb)
New York, New York - -

hus nM, M ferchdn

dit 02 a3 typo of \e Supreme Court

Judge of the Court of Claims

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¥ See Poaple’s Memorandum of Law ai page 4.

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